
793 So.2d 201 (2001)
Donald DRISCOLL
v.
Joseph PROVENZANO and ABC Insurance Company.
No. 2001-C-1115.
Supreme Court of Louisiana.
June 1, 2001.
Denied.
CALOGERO, C.J., concurs. I agree with the implicit reasoning of the court of appeal that La.Civ. code art. 2317.1 does not impinge upon the lessee's cause of action in strict liability against the lessor under La.Civ.Code art. 2695. However, I also agree with the court of appeal that the trial court's failure to instruct the jury *202 under Article 2695 did not constitute reversible error in this case, because the jury found upon sufficient evidence that the plaintiff had failed to prove that any defect in the premises was a cause-in-fact of his injuries.
